













NUMBER 13-08-00483-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


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IN THE INTEREST OF S.Z.M., A CHILD

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On appeal from the 156th District Court 


of Bee County, Texas.


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MEMORANDUM OPINION


	

Before Justices Yañez, Garza, and Vela


Memorandum Opinion Per Curiam


	Appellant perfected an appeal from a judgment entered by the 156th District Court
of Bee County, Texas, in cause number B-04-1072-CV-B.  Appellant has filed an
unopposed motion to dismiss the appeal.  Appellant requests that this Court dismiss the
appeal.

	The Court, having considered the documents on file and appellant's unopposed
motion to dismiss the appeal, is of the opinion that the motion should be granted.  See Tex.
R. App. P. 42.1(a).  Appellant's amended motion to dismiss is granted, and the appeal is
hereby DISMISSED.  Costs will be taxed against appellant.  See Tex. R. App. P. 42.1(d)
("Absent agreement of the parties, the court will tax costs against the appellant.").  Having
dismissed the appeal at appellants' request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.


							PER CURIAM

Memorandum Opinion delivered and 

filed this the 30th day of October, 2008. 





	


